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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                     NO. 4:05CR00213-004 SWW

ARMIN COLLINS


                                        ORDER

      The above entitled cause came on for hearing on the petition to

revoke the supervised release previously granted this defendant in the

United States District Court for the Eastern District of Arkansas. Based

on statements made on the record, the Court found that defendant has

violated the conditions of his supervised release without just cause.

      IT IS THEREFORE ORDERED that the government’s motion is granted, and

the supervised release previously granted this defendant in the above

matter hereby is revoked.

      IT   IS   FURTHER   ORDERED   that   defendant     shall    serve    a   term   of

imprisonment of FIVE (5) MONTHS in the custody of the Bureau of Prisons,

and defendant should receive credit for time served.

      There will be no supervised release following defendant’s term of

imprisonment.

      The special assessment previously imposed in the amount of $100.00

is mandatory and remains due and payable in this matter. During his

incarceration, defendant shall pay 50 percent per month of all funds that

are available to him on the special assessment.                   During community

confinement     placement,   payments    will   be    reduced    to   10   percent    of

defendant’s gross monthly income.
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     Defendant is remanded to the custody of the United States Marshal

to immediately begin service of the sentence imposed.

     IT IS SO ORDERED this 4th day of March, 2008.



                                      /s/Susan Webber Wright

                                      UNITED STATES DISTRICT JUDGE
